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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                           Chapter 11

JOE’S PLACE OF THE BRONX, NY, INC.,                             Case No. 17-11542-mg

                                    Debtor.
--------------------------------------------------------X


     DEBTOR’S AMENDED DISCLOSURE STATEMENT DATED AUGUST 21, 2019



                                             DISCLAIMER
            This is not a solicitation of acceptance or rejection of the plan. Acceptances or
          rejections may not be solicited until a disclosure statement has been approved by
           the Court. This disclosure statement is being submitted for approval but has not
                                       been approved by the Court.

I.      INTRODUCTION

        This is the amended disclosure statement (“Disclosure Statement”) in the Chapter 11 case

of Joe’s Place of the Bronx NY, Inc. (the “Debtor”). This Disclosure Statement contains

information about the Debtor and describes the Amended Plan of Reorganization (the APlan@)

filed by the Debtor on August 21, 2019. A full copy of the Plan is attached to this Disclosure

Statement as Exhibit A.

        Your rights may be affected by the Plan and Disclosure Statement. You should read

the Plan and this Disclosure Statement carefully and discuss them with your attorney. If you
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do not have an attorney, you may wish to consult one.

    The proposed distributions under the Plan are discussed at pages 8-12 of this Disclosure

Statement. Secured and Priority Tax Claims and the Claims of General unsecured creditors are

classified in Classes 1, 2 and 3. The Class 1 Secured and Priority Tax Claims of the New York

State Department of Taxation and Finance (“NYSDTF”) shall be paid as follows: Four Thousand

Five Hundred Dollars ($4,500.00) a month for 72 months from the Effective Date of the Plan.1

The Class 2 Priority Tax Claim of the New York City Department of Finance will be paid in full

within 60 months of the Effective Date of the Plan. All Class 3 Unsecured Claimants will

receive payments of no less than 10% of the total claim amount of their allowed claims within .

60 months of the Effective Date of the Plan. The interests of the shareholder, Jose Torres, will

remain unimpaired.

       A.      Purpose of This Document

       This Disclosure Statement describes:

       C       The Debtor and significant events during the bankruptcy case;

       C       How the Plan proposes to treat claims of the type you hold (i.e., what you will

       receive on your claim or equity interest if the plan is confirmed);

       C       Who can vote on or object to the Plan;

       C       What factors the Bankruptcy Court (the ACourt@) will consider when deciding

       whether to confirm the Plan;

       C       Why the Debtor believes the Plan is feasible, and how the treatment of your claim

       under the Plan compares to what you would receive on your claim or equity interest in a

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  The Effective Date is defined in the Plan as the date selected by the Debtor that is the eleventh
business day following the date of the entry of the order of confirmation.

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        liquidation of the Debtor’s assets; and

        C       The effect of confirmation of the Plan on your claim.

        Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement

describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.

        B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

        The Court has not yet approved B referred to as Aconfirmed@B the Plan described in this

Disclosure Statement. This section describes the procedures pursuant to which the Plan will or

will not be confirmed.

                1.       Time and Place of the Hearing to Approve This Disclosure Statement and
                         Confirm the Plan

        The hearing at which the Court will determine whether to finally approve this Disclosure

Statement and confirm the Plan will take place on or after _________, 2019, at the U.S.

Bankruptcy Court, One Bowling Green, New York, New York 10004.

                2.       Deadline For Voting to Accept or Reject the Plan

        If you are entitled to vote to accept or reject the plan, you will be permitted to vote on the

plan by completing the enclosed ballot and returning the ballot in the enclosed envelope to

ORTIZ & ORTIZ, L.L.P., 32-72 Steinway Street, Ste. 402, Astoria, New York 11103. See

Section IV(A) below for a discussion of voting eligibility requirements.

             Your ballot must be received by ______________, or it will not be counted.

                3.       Deadline For Objecting to the Adequacy of Disclosure and Confirmation
                         of the Plan

    Objections to the adequacy of the information contained in this Disclosure Statement or to

the confirmation of the Plan must be filed with the Court and served upon Ortiz & Ortiz, L.L.P.,

32-72 Steinway Street, Ste. 402, Astoria, New York 11103, the Office of the U.S. Trustee, 201

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Varick Street, Suite 1006, New York, New York 10014, and the Chambers of Judge Martin

Glenn, One Bowling Green, New York, New York 10004, no later than _______________.

                 4.     Identity of Person to Contact for More Information

      If you want additional information about the Plan, you should contact Norma E. Ortiz, at the

address and telephone number below.

         C.      Disclaimer

      The Court has provided conditional, but not final, approval of this Disclosure Statement as

containing adequate information to enable parties affected by the Plan to make an informed

judgment about its terms. The Court has not yet determined whether the Plan meets the legal

requirements for confirmation. If the Court approves the adequacy of the information contained

in the Disclosure Statement, such approval does not constitute an endorsement of the Plan by the

Court, or a recommendation that you accept its terms.

II.      BACKGROUND

         A.      Description and History of the Debtor and Events Leading to
                 Chapter 11 Filing

         The Debtor has struggled mightily to reorganize its business and place it in the position

to seek approval of the Plan. The Debtor has operated a restaurant located at 1841 Westchester

Avenue in Bronx County for decades that is known throughout New York City for its Latin food.

Its financial troubles began as early as 2010, when it incurred, among other things, a significant

sales tax liability to NYSDTF that resulted in penalties and interest of no less than $2.8 million

dollars. The Debtor was forced to file a prior Chapter 11 case in 2015 in the Southern District of

New York under Case Number 15-12688-mg to attempt to resolve its debt to the NYSDTF, but

it failed because it could not generate sufficient profit to propose a feasible plan to the court and


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its creditors, and its case was dismissed in 2016. As a result of these difficulties, the Debtor also

fell behind on its obligations to its landlord, the Estate of Harry Katz (the “Landlord”).

       When the NYSDTF threatened to seize the Debtor’s restaurant, the Debtor filed its

petition in this case on June 2, 2017 (the “Petition Date”). Since that time, the Debtor has

struggled to streamline its operations, improve its cash flow, and resolve its obligations to the

Landlord.

       B.      Events Occurring After the Bankruptcy Filing

        Negotiations with the Landlord: During the course of the last two years, the Landlord

has raised repeated issues with the Debtor regarding past due rent, additional rent that had not

been previously billed to the Debtor, and questions regarding the roof and equipment contained

on the premises. Throughout the case, the Debtor has strived to address each issue, and

cooperate with the Landlord. The Landlord and the Debtor have entered into no less than sixteen

stipulations extending the Debtor’s time to assume its lease for the restaurant. The Debtor has

satisfied all of the Landlord’s requests in connection with its physical premises. It also entered

into an agreement to pay any past due rent to the Landlord in small monthly increments. The

Plan assumes the lease with the Landlord. With the lease intact, which expires in 2027, the

Debtor will be able to continue operating and meet its obligations under the Plan. Reaching an

acceptable settlement with the Landlord was a necessary component of the Debtor’s

reorganization.

        Negotiations with NYSDTF: The last amended claim filed by the NYSDTF is in the

amount of $3,103,395.43. The Debtor could not propose a plan without the NYSDTF’s

agreement to accept a substantial reduction in the payment of its claim. The Debtor struggled

financially in the first year of its bankruptcy case, and could not propose viable payment plan to

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the NYSDTF. However, in 2018, the Debtor made some changes to its operations that helped

increase its cash flow, including reducing its payroll and adding a grill that attracted new

customers. Once the Debtor was able to show a consistent profit, the Debtor proposed a

settlement to NYSDTF of its claims. Because the Debtor’s profitability had fluctuated in the

past, the Debtor began to set aside funds in its tax account to demonstrate to the NYSDTF that it

had the ability to meet the terms of its plan proposal. The Debtor also satisfied any and all

administrative claims asserted by the NYSDTF and all other taxing authorities. As a result, as of

May 31, 2019, the Debtor has accumulated $48,000 in its tax account. The NYSDTF has agreed

to accept 72 payments of $4,500.00 a month, or a total of $324,000, in full satisfaction of its

secured and priority claims against the Debtor, so long as the Debtor complies with the terms of

the Plan. The Debtor’s settlement with NYSDTF was the key determining factor in the Debtor’s

ability to reorganize and propose a payment to all creditors.

       Debtor’s Improved Profitability. During the pendency of the case the Debtor has

improved its financial condition and has demonstrated positive cash flow. Although the

Debtor’s sales fluctuate during the year, it has been able to pay its expenses as they become due

and operate at a profit since the last quarter of 2018. The Debtor filed monthly operating reports

that demonstrate from January through May of 2019, the Debtor’s average monthly profit was

$7,200 a month. The Plan proposes to pay all creditors approximately $5,200 a month. Because

the Debtor’s sales fluctuate throughout the year, the proposed Plan payments are designed to

ensure that the Debtor will have sufficient income every month to satisfy all plan payments.

Attached as Exhibit B are cash flow projections for the next five years that show the positive

cash flow necessary to fund the Debtor’s Plan. The projections were based upon the Debtor’s

past and present financial history, and the Debtor believes the projections are realistic and

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accurate. The projections support the Debtor’s assertion and belief that it can afford to pay its

creditors the payments proposed in the Plan.

       THE DEBTOR NEEDS YOUR VOTE TO ACCEPT THE PLAN TO STAY IN

BUSINESS. Since the Debtor is required to pay Class 2 in full, it needs the votes of Class 1 and

Class 3 to accept its Plan and permit it to remain in business. If all creditors in these classes vote

in favor of the Plan, the Debtor has a high likelihood that the Bankruptcy Court will approve the

plan and the Debtor can remain in business and make payments under the Plan. But if one or

more creditors in these classes rejects the Plan, the Bankruptcy Law requires that at least

two-thirds (2/3) of the dollar amount and greater than one-half (1/2) in number of the voting

creditors in these classes accept the Plan.

       If the Debtor does not receive the requisite votes, it will not be able to seek confirmation

of the Plan and will be forced to either dismiss its Chapter 11 bankruptcy case or convert its case

to a Chapter 7 liquidation case and shut its doors. The Debtor believes that only administrative

creditors and the NYSDTF will receive payment of their claims if the Debtor is liquidated in a

Chapter 7 case or dismissed.

       C.      Debtor’s Officer Compensation

       The Debtor proposes to pay its Officer, Jose Torres, an annual salary $40,000 during the

term of the Plan. Prior to the Petition Date, Mr. Torres has often been unable to receive

compensation, and his salary luctuated.

       D.      Significant Events During the Bankruptcy Case

       There were no significant events that occurred after the case was filed other than the

issues discussed above. The Debtor obtained an order setting forth the deadline for creditors to

file claims, called a Bar Date, that set April 10, 2019, as the last day for claims to be filed against

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the Debtor.

          E.      Projected Recovery of Avoidable Transfers

         The Debtor does not intend to pursue preference, fraudulent conveyance, or other

avoidance actions. It does not believe there are any such claims.

          F.      Claims Objections

          Except to the extent that a claim is already allowed pursuant to a final non-appealable

order, the Debtor reserves the right to object to claims. Therefore, even if your claim is allowed

for voting purposes, you may not be entitled to a distribution if an objection to your claim is later

upheld. The procedures for resolving disputed claims are set forth in Article V of the Plan.

The Debtor does not intend to object to any claims at this time.

III.      SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
          CLAIMS AND EQUITY INTERESTS

          A.      What is the Purpose of the Plan of Reorganization?

       As required by the Bankruptcy Code, the Plan places claims in various classes and describes

the treatment each class will receive. In the Plan, the treatment of claims shall be payment of

those claims. The Plan also states whether each class of claims is impaired or unimpaired. If the

Plan is confirmed, your recovery will be limited to the amount provided by the Plan.

          B.      Unclassified Claims

       Certain types of claims are automatically entitled to specific treatment under the Bankruptcy

Code. They are not considered impaired, and holders of such claims do not vote on the Plan.

They may, however, object if, in their view, their treatment under the Plan does not comply with

the Bankruptcy Code. As such, the Debtor has not placed the following claims in any class:

                  1.     Administrative Expenses and Statutory Fees. Administrative expenses


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are costs or expenses of administering the Debtor’s chapter 11 case which are allowed under '

507(a)(2) of the Code. Statutory fees are fees imposed by statute that are not classified as

Claims or Administrative expenses. Administrative expenses also include the value of any

goods sold to the Debtor in the ordinary course of business and received within 20 days before

the date of the bankruptcy petition. The Code requires that all administrative expenses and

statutory fees be paid on the effective date of the Plan, unless a particular claimant or entity

agrees to a different treatment.

       The Debtor shall pay all statutory fees due and payable under 28 U.S.C. § 1930(a)(6),

plus accrued interest under 31 U.S.C. § 3717, on all disbursements, including plan payments and

disbursements inside and outside of the ordinary course of business until the entry of a final

decree, dismissal or conversion of the case to chapter 7. The Debtor shall also file monthly

post-confirmation reports and schedule post-confirmation status conferences on a quarterly basis

until entry of a final decree, dismissal of the case or conversion of the case to chapter 7 case.

Within fourteen (14) days after the estate is fully administered and the Court has discharged the

Debtor, the Debtor shall file and serve upon the United States Trustee a closing report.

   The following chart lists the Debtor=s estimated administrative expenses and statutory fees

and their proposed treatment under the Plan:

                       a.      Type: Professional Fees, Subject to Approval by the Court

                               Estimated Amount Owed: $20,000 for legal fees for Ortiz & Ortiz,

                               L.L.P., as Debtor=s counsel, above the amount paid as a retainer.

                               Proposed Treatment: Paid according to separate written

                               agreement with the Debtor, and according to court order.

                       b.      Type: Expenses Arising in the Ordinary Course of Business After

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                               the Petition Date

                                Estimated Amount Owed: None.

                                Proposed Treatment: Paid in full on the effective date of the

                                Plan, or according to terms agreed to by the parties.

                        c.     Type: Value of Goods Received in the Ordinary Course of
                               Business Within 20 Days Before the Petition Date

                               Estimated Amount Owed:        None

                        d.     Type: Clerk=s Office Fees

                               Estimated Amount Owed:        None

                        e.     Type: U.S. Trustee=s Quarterly Fees

                               Estimated Amount Owed:        None. If any amounts are due, they
                                                             will be paid on or before plan
                                                             confirmation.

                               Proposed Treatment: Paid in full on the effective date of the Plan

TOTAL DUE ON THE EFFECTIVE DATE:                               $20,000, unless agreed otherwise

TOTAL DUE AFTER THE EFFECTIVE DATE:                             None or Per Agreement

    C.         Classes of Claims

               The following are the classes set forth in the Plan and the proposed treatment that

they will receive under the Plan:

               I.       Class of Secured and Priority Tax Claims of NYSDTF

Secured claims are claims secured by some or all of the property owned by a Debtor and, in most

instances, such claims must be paid in full unless the secured creditor agrees otherwise. Priority

tax claims are unsecured income, employment, and other taxes described by Bankruptcy Code '

507(a)(8). Unless the holder of such a ' 507(a)(8) priority tax claim agrees otherwise, it must


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receive the present value of such claim, in regular installments paid over a period not exceeding

5 years from the order of relief.

               Class 1:        Secured and Priority Tax Claims of the NYSDTF

               Description:    All secured and priority taxes owed to NYSDTF

               Amount Owed: $3,103,395.43

               Impairment:     Yes

               Treatment:       Monthly payment of $4,500.00 a month for 72 months from
                                Effective Date


               II.     Priority Tax Claim of the N.Y.C. Dept. of Finance

               Class 2: Priority Tax Claim of the N.Y.C. Dept. of Finance

               Description:     Priority taxes owed to N.Y.C. Dept. of Finance

               Amount Owed: $26,443,76

               Impairment:      No

               Treatment:       Monthly payment of $441.00 a month for 60 months from the
                                Effective Date

               III.    Class of General Unsecured Claims

       General unsecured claims are not secured by property of the estate and are not entitled to

priority under Bankruptcy Code § 507(a). The Debtor believes there are 7 claims in this class.

       The following identifies the Plan’s proposed treatment of Class 3 Claims:

               Class 3:        General Unsecured Claims

               Description:    All general unsecured claims.

               Amount of Claims: No less than $139,858.26

               Treatment:     Paid 10% of Allowed claims over 60 months from the Effective
                            Date in monthly payments of $235.00.

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                Impaired?       Yes


                III.    Equity Interest Holder

        The sole shareholder of the Debtor, or equity interest holder, is Jose Torres. Mr. Torres’s

interest in the Debtor will be unimpaired and he will remain the sole owner of the Debtor. If

Class 1 and 3 do not accept the plan, the Bankruptcy Court may not confirm this plan because

Mr. Torres will retain his interest in the Debtor. In order for the Debtor to confirm a plan over

the objection of the dissenting classes, it would need to pay all the claims in those classes in full

or for Mr. Torres to not retain any interest in the Debtor under the plan unless he provides new

value to the Debtor.

        D.      Means of Implementing the Plan

                1.      Source of Plan Payments

        Payments and distributions under the Plan will be funded by the following: Debtor’s net

income from the operation of its restaurant.

                2.      Post-confirmation Management

                The Debtor’s current management will continue post-confirmation. Mr. Torres

will remain as the Debtor’s president and will manage the Debtor’s affairs.

        E.      Risk Factors

        The proposed Plan has the following risks: The Debtor=s income is dependent upon his

ability to earn a profit from its operation of a restaurant. The Debtor has maintained a positive

cash flow since the last quarter of 2018 and continued operations of the business will provide the

greatest recovery to its creditors.

        However, the Debtor is not generating sufficient income to pay its creditors in full. The


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Debtor’s sole shareholder has no personal assets of any value and is unable to contribute any

property to help fund the plan. After the Chapter 11 case was filed, a divorce action was

commenced against the Debtor’s sole shareholder, and the divorce court awarded his ex-spouse

title to the marital home. The only asset Mr. Torres possesses are his shares in the Debtor. If the

Plan is not approved by his creditors, Mr. Torres will be unable to confirm the Plan and will be

forced to close the restaurant.

       F.      Executory Contracts and Unexpired Leases

       The Plan lists all executory contracts and unexpired leases that the Debtor will assume

under the Plan. Assumption means that the Debtor has elected to continue to perform the

obligations under such contracts and unexpired leases, and to cure defaults of the type that must

be cured under the Code, if any. The Plan also lists how the Debtor will cure and compensate

the other party to such contract or lease for any such defaults.

       If you object to the assumption of your unexpired lease or executory contract, the

proposed cure of any defaults, or the adequacy of assurance of performance, you must file and

serve your objection to the Plan within the deadline for objecting to the confirmation of the Plan,

unless the Court has set an earlier time.

       All executory contracts and unexpired leases that are not listed in the Plan will be

rejected under the Plan. Consult your adviser or attorney for more specific information about

particular contracts or leases.

       If you object to the rejection of your contract or lease, you must file and serve your

objection to the Plan within the deadline for objecting to the confirmation of the Plan.

       There are no executory contracts or unexpired leases listed in the Plan, other than the

Debtor’s Lease with its Landlord.

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       G.      Tax Consequences of Plan

       Creditors concerned with how the plan may affect their tax liability should consult with

their own accountants, attorneys, and/or advisors.

       H.      Release and Injunction

       The Plan provides that the Debtor, its officers and directors, and the Debtor’s

Professionals shall neither have nor incur any liability to any person for any act taken or omitted

in connection with the Case, including the formulation and prosecution of the Plan. This release

of liability will not apply to any act or omission that was caused by gross negligence or willful

misconduct. The Plan also contains an injunction against any actions that could be taken against

the Debtor to collect upon Claims discharged under the Plan, such as attempting to collect, sue,

or levy against any of the Debtor’s property. The injunction provisions are explained in 10.06 of

the Plan.

IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

       The court can not approve B or confirm B the Plan unless it meets the requirements listed

in Bankruptcy Code ' 1129. These include the requirements that the Plan must be proposed in

good faith; at least one impaired class of claims must accept the Plan, without counting votes of

insiders; the Plan must distribute to each creditor holder at least as much as the creditor would

receive in a chapter 7 liquidation case, unless the creditor or equity interest holder votes to

accept the Plan; and the Plan must be feasible. These requirements are not the only requirements

listed in ' 1129, and they are not the only requirements for confirmation.

       A.      Who May Vote or Object to the Plan

       Any party in interest may object to the confirmation of the Plan if the party believes that

the requirements for confirmation are not met.

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        Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A

creditor has a right to vote for or against the Plan only if that creditor or equity interest holder

has a claim or equity interest that is both (1) allowed or allowed for voting purposes and (2)

impaired.

        In this case, the Debtor believes that Class 1 and 3is impaired and that the holders of the

claims in those classes are therefore entitled to vote to accept or reject the Plan. Since Classes 2

will be paid in full, it is unimpaired and deemed to have accepted the Plan. As a result only

Class 1 and 3 is entitled to vote on the Plan.

                1.      What Is an Allowed Claim?

        Only a creditor with an allowed claim has the right to vote on the Plan. Generally, a

claim is allowed if either (1) the Debtor has scheduled the claim on the Debtor=s schedules,

unless the claim has been scheduled as disputed, contingent, or unliquidated, or (2) the creditor

has filed a proof of claim or equity interest, unless an objection has been filed to such proof of

claim or equity interest. When a claim is not allowed, the creditor holding the claim cannot vote

unless the Court, after notice and hearing, either overrules the objection or allows the claim or

equity interest for voting purposes pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy

Procedure.

        The deadline for filing a proof of claim in this case was April 10, 2019.

                2.      What Is an Impaired Claim?

        As noted above, the holder of an allowed claim has the right to vote only if it is in a class

that is impaired under the Plan. As provided in Section 1124 of the Bankruptcy Code, a class is

considered impaired if the Plan alters the legal, equitable, or contractual rights of the members of

that class.

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                   3.     Who is Not Entitled to Vote?

        The holders of the following five types of claims are not entitled to vote to accept or

reject the Plan:

        !          holders of claims that have been disallowed by an order of the Court;

        !          holders of other claims that are not "allowed claims" or (as discussed above),

                   unless they have been "allowed" for voting purposes;

        !          holders of claims in unimpaired classes;

        !          holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and (a)(8) of

                   the Code;

        !          holders of claims in classes that do not receive or retain any value under the Plan;

                   and

        !          holders of administrative expenses.

        However, even if you are not entitled to vote on the plan, you have a right to object to the

confirmation of the plan and to the adequacy of the disclosure statement.

                   4.     Who Can Vote in More Than One Class?

        A creditor whose claim has been allowed in part as a secured claim and in part as an

unsecured claim, or who otherwise holds claims in multiple classes, is entitled to accept or reject

a Plan in each capacity, and should cast one ballot for each claim.

        B.         Votes Necessary to Confirm the Plan

        If impaired classes exist, the court cannot confirm the Plan unless (1) at least one

impaired class of creditors has accepted the Plan without counting the votes of any insiders

within that class, and (2) all impaired classes have voted to accept the Plan, unless the Plan is

eligible to be confirmed by cram down on non-accepting classes, as discussed later in Section

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B.2.

               1.      Votes Necessary for a Class to Accept the Plan

       A class of claims accepts the Plan if both of the following occur: (1) the holders of more

than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the

Plan, and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the

class, who vote, cast their votes to accept the Plan.

               2.      Treatment of Non-Accepting Classes

       Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm

the Plan if the non-accepting classes are treated in the manner prescribed by § 1129(b) of the

Code. A plan that binds non-accepting classes is commonly referred to as a cram down plan.

The Code allows the Plan to bind non-accepting classes of claims if it meets all the requirements

for consensual confirmation except the voting requirements of § 1129(a)(8) of the Code, does

not discriminate unfairly, and is fair and equitable toward each impaired class that has not voted

to accept the Plan.

       You should consult your own attorney if a cram down confirmation will affect your claim

or equity interest, as the variations on this general rule are numerous and complex.

       C.      Liquidation Analysis

       To confirm the Plan, the Court must find that all creditors and equity interest holders who

do not accept the Plan will receive at least as much under the Plan as such claim would receive

in a Chapter 7 bankruptcy liquidation. Attached as Exhibit C is a copy of the Debtor’s

liquidation analysis as of the Petition Date. The Plan provides the Class 1 creditor with over

$300,000 over the life of the Plan, pays Class 2 in full, and pays Class 3 creditors with a

recovery of 10% of the Allowed claims. If the Debtor’s assets were liquidated as of the Petition

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Date, Class 2 and 3 creditors would receive no payment, since the Debtor’s assets are inadequate

to pay administrative claims and the secured claim of the NYSDTF. Therefore, the Plan

provides more than creditors would receive if the Debtor’s assets were administered under

Chapter 7 of the Bankruptcy Code.

          D.     Feasibility

          The court must find that confirmation of the Plan is not likely to be followed by the

liquidation, or the need for further financial reorganization, of the Debtor or any successor to the

Debtor, unless such liquidation or reorganization is proposed in the Plan. The Debtor believes

that the Plan is feasible. The Debtor has filed operating reports with the court for almost two

years, and demonstrated it has improved its financial performance and has the ability to pay its

operating expenses and make a profit. As a result, the Debtor’s performance during the

pendency of the case supports its assertion that it will be able to make its proposed plan

payments.

V.     EFFECT OF CONFIRMATION OF PLAN

     A.          Discharge of Debtor

          The Plan provides that when the court confirms the Plan, and the Debtor complies with

all of the terms of the Plan, the Debtor will be discharged of all Claims against the Debtor that

arose prior to the bankruptcy filing. The holder of a discharged Claim shall be forever barred

and precluded from asserting against the Debtor, its assets or property. The Plan and applicable

Bankruptcy law provide that the discharge will also serve as an injunction against the

commencement or continuation of any action or attempt to recover the Claims discharged by this

Plan. In addition, the Plan provides that title to all of the assets of the Debtor shall vest in the

Reorganized Debtor free and clear of all Claims, Liens, charges and encumbrances of creditors.

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   B.          Modification of Plan

        The Debtor may modify the Plan at any time before confirmation of the Plan. However,

the court may require a new disclosure statement and/or a new Plan and re-solicitation of votes

on the Plan. Upon request of the Debtor, the United States Trustee, or the holder of an allowed

unsecured claim, the Plan may be modified at any time after confirmation of the Plan but before

the completion of payments under the Plan, to (1) increase or reduce the amount of payments

under the Plan on claims of a particular class, (2) extend or reduce the time period for such

payments, or (3) alter the amount of distribution to a creditor whose claim is provided for by the

Plan to the extent necessary to take account of any payment of the claim made other than under

the Plan.

   C.          Final Decree

        Once the bankruptcy estate has been fully administered, as provided in Rule 3022 of the

Federal Rules of Bankruptcy Procedure, the Debtor, or such other party as the Court shall

designate in the Plan Confirmation Order, shall file a motion with the Court to obtain a final

decree to close the case. Alternatively, the Court may enter such a final decree on its own

motion.

Dated: August 21, 2019
       Astoria, New York
                                                       /s/Norma E. Ortiz
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                              EXHIBIT B
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                              EXHIBIT C
